                                           Case 3:21-cv-09003-TLT Document 45 Filed 04/04/24 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ESTEBAN ALCAZAR,                                    Case No. 21-cv-09003-TLT
                                   8                    Plaintiff,                           ORDER TO SHOW CAUSE
                                   9              v.

                                  10     CALIFORNIA UNITED MECHANICAL,
                                         INC.,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          On March 19, 2024, the Court held hearing on Motion for Preliminary Approval of Class

                                  14   Settlement, ECF 40. Following hearing, the Plaintiff and/or Parties were to submit supplemental

                                  15   briefing on the attorneys’ fee award request and certain aspects of the putative class notice brought

                                  16   to the Parties’ attention at the hearing. Further, the Parties were given a deadline to produce a list

                                  17   of proposed dates not already provided by the Court by March 22, 2024.

                                  18          The Parties are hereby ORDERED to show cause for why the list of tentative dates was

                                  19   not provided as well as to submit supplemental briefing on why the Court should approve the

                                  20   entire settlement in light of the attorneys’ fees award and the proposed method and form of notice

                                  21   by Friday, April 12, 2024.

                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: April 4, 2024
                                                                                              __________________________________
                                  25                                                          TRINA L. THOMPSON
                                  26                                                          United States District Judge

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